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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA

                                   MEMORANDUM


Honorable John A. Mendez
United States District Judge
Sacramento, California

                                            RE:    Prasert SOMSINSAWASDI
                                                   Docket Number: 2:06CR00343-01
                                                   PERMISSION TO TRAVEL
                                                   OUTSIDE THE COUNTRY

Your Honor:


The offender is requesting permission to travel to Bangkok, Thailand. He is current with
all supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On August 14, 2007, the offender pled guilty to a
violation of 18 USC 1955(a) - Conducting Illegal Gambling Business, and 18 USC 1956(h) -
Conspiracy to Commit Money Laundering. In summary, he and his wife, along with others,
were engaged in illegal sports betting and selling illegal lottery tickets. It was suspected the
offender had laundered in excess of $230,000 from this illegal enterprise, which may have
been laundered out of the country during his travels to Southeast Asia. He was sentenced
on November 13, 2007, by the Honorable D. Lowell Jensen.


Sentence imposed: The offender was sentenced to 18 months imprisonment to be
followed by a 36 month term of supervised release.


Dates and Mode of Travel: The offender plans to depart on November 18, 2009, and
return on March 22, 2010. He has already purchased his flight tickets from China Airlines.


Purpose: To receive dental and medical treatment, in addition to visiting family with whom
he will be staying during recovery of treatment.



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RE:    Prasert SOMSINSAWASDI
       Docket Number: 2:06CR00343-01
       PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


Your Honor, prior to his departure from San Francisco, California, to Bangkok, Thailand,
his luggage and person will be searched by the underlying officer along with another officer.
He does have a warrantless search condition as part of his special conditions of supervised
release. Additionally, upon his return when he enters the United States, this offender will
be referred to secondary inspection by the Customs Border Patrol. The purpose of the
search is to prevent him from traveling with large quantities of money derived from any
illegal activity should Your Honor grant his travel request.

                                 Respectfully Submitted,


                                   /s/Scott W. Storey
                                 SCOTT W. STOREY
                            United States Probation Officer

DATED:        November 12, 2009
              Sacramento, California
              sws:cp


REVIEWED BY:         /s/Kyriacos M. Simonidis
                     KYRIACOS M. SIMONIDIS
                     Supervising United States Probation Officer



ORDER OF THE COURT:

Approved            X                             Disapproved


       11-13-09                                    /s/ John A. Mendez
Date                                              JOHN A. MENDEZ
                                                  United States District Judge




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